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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :       Case No:
                                             :
               v.                            :
                                             :       VIOLATIONS:
                                             :
   BRANDON FELLOWS                           :       18 U.S.C. § 1752(a),
                                             :       (Restricted Building or Grounds)
               Defendant.                    :
                                             :       40 U.S.C. § 5104(e)(2)
                                             :       (Violent Entry or Disorderly Conduct)

               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                           AND ARREST WARRANT

       I, LaNard Taylor, Special Agent with the Federal Bureau of Investigation (“FBI”),

being duly sworn, deposes and states under penalty of perjury that the following is true to the

best of my information, knowledge and belief.

                                  PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a Criminal Complaint charging

BRANDON CRAIG FELLOWS (“FELLOWS”) with violations of 18 U.S.C. § 1752(a) and 40

U.S.C. § 5104(e)(2). Specifically, on or about January 6, 2021, FELLOWS traveled to

Washington, D.C., and knowingly and willfully joined a crowd of individuals who forcibly

entered the U.S. Capitol and impeded, disrupted, and disturbed the orderly conduct of business

by the United States House of Representatives and the United States Senate.

                                   AGENT BACKGROUND

       2.      I have been a Special Agent with the FBI since June 2016. I am presently

assigned to the Washington Field Office’s International Corruption Squad, where I am

responsible for investigating Antitrust, Foreign Corrupt Practices Act, and Kleptocracy
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violations. I was previously assigned to the FBI’s Los Angeles Field Office, where I was

responsible for investigating public corruption, fraud against the government, violent crime,

narcotics offenses, and a host of other violations of federal law. Prior to my employment with the

FBI, I was a law enforcement officer in the State of Florida for four years, where I investigated

crimes relating to fraud, narcotics, violent crimes, and a variety of other criminal acts.

       3.      I am one of the agents assigned to an ongoing investigation of riots and civil

disorder that occurred on January 6, 2021 in and around the United States Capitol grounds by the

FBI, United States Capitol Police (“USCP”), Metropolitan Police Department (“MPD”) and

other law enforcement agencies. Since I became involved in this investigation on January 6,

2021, I have conducted interviews, reviewed public tips, reviewed publicly available photos and

video, and reviewed relevant documents, among other things.

       4.      The facts in this affidavit come from my review of the evidence, my personal

observations, my training and experience, and information obtained from other agents and

witnesses. Except as explicitly set forth below, I have not distinguished in this affidavit between

facts of which I have personal knowledge and facts of which I have hearsay knowledge. This

affidavit is intended to show simply that there is sufficient probable cause for the requested arrest

warrant and does not set forth all of my knowledge about this matter.

                                         BACKGROUND



       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, located at First Street Southeast, Washington, District of Columbia.

During the joint session, elected members of the United States House of Representatives and

Senate met in the United States Capitol to certify the vote count of the Electoral College for the

2020 Presidential Election, which took place on November 3, 2020.
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       6.      The U.S. Capitol is secured 24 hours a day by security barriers and USCP occupy

various posts throughout the grounds. Restrictions around the U.S. Capitol include permanent

and temporary security barriers and posts manned by USCP. USCP officers wore uniforms with

clearly marked police patches, insignia, badges, and other law enforcement equipment. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol. On

January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of the public.

       7.      The January 6, 2021 joint session began at approximately 1:00 p.m. Shortly

thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate chambers to

resolve a particular objection. Vice President Michael R. Pence was present and presiding, first

in the joint session, and then in the Senate chamber.

       8.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building and USCP were present, attempting to keep the crowd away from

the Capitol building and the proceedings underway inside. As the certification proceedings were

underway, the exterior doors and windows of the Capitol were locked or otherwise secured.

       9.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and past officers of the USCP, and the crowd advanced to

the exterior façade of the building. The crowd was not lawfully authorized to enter or remain in

the building and, prior to entering the building, no members of the crowd submitted to security

screenings or weapons checks by the USCP or other authorized security officials.

       10.     A short time later, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice
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President Pence, were instructed to—and did—evacuate the chambers. As such, all proceedings

of the United States Congress, including the joint session, was effectively suspended until shortly

after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful

entry to the U.S. Capitol, including the danger posed by individuals who had entered the U.S.

Capitol without any security screening or weapons check, Congressional proceedings could not

resume until after every unauthorized occupant had left the U.S. Capitol, and the building had

been confirmed secured. The proceedings resumed at approximately 8:00 pm after the building

had been secured. Vice President Pence remained in the United States Capitol from the time he

was evacuated from the Senate Chamber until the sessions resumed.

       11.     During national news coverage of the aforementioned events, video footage

which appeared to be captured on mobile devices of persons present on the scene depicted

evidence of violations of local and federal law, including scores of individuals inside the U.S.

Capitol building without authority to be there.



                STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE



       12.     Beginning on or about January 7, 2021, the investigative agencies began receiving

tips, reviewing video, and researching open-source materials. Multiple tips and open-source

information identified FELLOWS as being involved.

       13.     On or about January 8, 2021, Instagram account @Brandoncraigfellows, believed

to be used by FELLOWS, posted a series of pictures, including one depicted a person sitting on a

police motorcycle. In the photograph, shown below, the person wore a gray and black costume

hat with an fake orange beard attached. The person also wore a black jacket with white sleeves,

which contained red stripes and the letters “USA” in blue letters.
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       14.    In the photo above, and many of the videos and photos mentioned below, the

individual who identifies himself as Brandon Fellows has what appears to be a fake orange beard

on his face, obscuring half of his face. However, the Bloomberg article referenced below

contained another photograph of FELLOWS with only sunglasses on and no fake beard and the

@Brandoncraigfellows Instagram account contained videos and photos of FELLOWS with

nothing obscuring his face. Law enforcement retrieved a driver license photograph (shown

below) of FELLOWS, DOB 04/11/1994, a resident of Schenectady, New York, and confirmed it

was consistent with the photos and videos of FELLOWS described below. In addition, in

multiple of the sources described below, FELLOWS describes himself as being from Albany,

NY, and then appears to correct himself to name a town or location near Albany. Albany is

about 20 miles outside of Schenectady.

       LICENSE PHOTOGRAPH OF FELLOWS:
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PHOTOGRAPH POSTED ON INSTAGRAM ACCOUNT:




       15.    A video posted to CNN’s website

(https://www.cnn.com/videos/business/2021/01/07/capitol-riot-inside-look-reeve-pkg-lead-

vpx.cnn/video/playlists/congress-affirms-president-elect-biden-win/) depicted the Capitol breach
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and shows what appears to be FELLOWS giving an interview to a reporter. During the interview

FELLOWS stated, in part, “Yeah we went in there and then I walked in and there’s just a whole

bunch of people lighting up in some Oregon room…they were smoking a bunch of weed in

there.” FELLOWS went on to say, “cops are very cool, they were like hey guys have a

goodnight, some of them, which is crazy, it’s really weird, you can see that some of them were

on our side.” In the interview, FELLOWS wore a hat and jacket consistent with those shown in

paragraph 13 (sitting on the motorcycle). A screenshot of the interview is below.




       16.     On January 6, 2021, United States Senator Jeffrey Merkley (of Oregon) posted a

video to his Twitter account, documenting damage done to his office as a result of the breach. In

the video, Senator Merkley indicated items were stolen, damaged, and destroyed. A cigarette butt

and ashes were also left behind. A screenshot of the video is below.
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       17.     On January 6, 2021, a live stream video on the DLive platform was broadcasted to

the public from user “Baked Alaska” and a portion was later posted on Twitter. In the video,

several people were observed in an office that appeared to be within the Capitol. The video

showed a person who appeared to be FELLOWS, sitting at a table with his feet propped up on a

table, as shown in the still shot below. The chairs, table, drapes, and wall art appeared to be

consistent with those in the office posted by Senator Merkley.    The conference room in which

FELLOWS is present appears to be Senate room S140, the private “hideaway” office of Senator

Merkley within the U.S. Capitol. The artwork visible on the walls of the conference room in the

video is also visible on a video that Senator Merkley posted to Twitter on January 6, 2021, at

11:36pm, documenting some of the damage to his office, as described above. At this time, there

is no evidence that FELLOWS was involved in any of the theft, damage, or destruction – other

than being a part of the group that occupied the office for some period of time.
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       18.     On January 12, 2021, a witness provided screenshots from the “Brandon Craig

Fellows” Facebook account, which has the words: “We took the Capitol and it was glorious”

under the profile photo. (The profile photos is the same motorcycle photo of FELLOWS

included above.) In the screenshot, a thread of conversations between various Facebook

members is captured discussing whether or not the rioters accomplished anything by overtaking

the Capitol. After someone says the rioters accomplished nothing and noted that “the

government is not scared” of the rioters, the Fellows account posts:
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                                                      .

       19.     On January 12, 2021, Bloomberg published a story entitled “’No Regrets’: A

Capitol Rioter Tells His Story From Inside.” The story identified the rioter interviewed as

“Brandon Fellows,” a 26 year old from upstate New York and included photographs of

FELLOWS, including one without anything covering his face other than sunglasses (shown

below). In the story, the interviewee, believed to be FELLOWS, was quoted as saying “I have

no regrets…I didn’t hurt anyone, I didn’t break anything. I did trespass though, I guess.” The

article also quoted FELLOWS as saying his Bumble dating profile was “blowing up” after he

posted a picture of himself at the Capitol. Bloomberg reported that during the breach of the

Capitol, FELLOWS had his feet propped up on a table in the office of a U.S. Senator. The

article quoted FELLOWS as saying: “This one is going to get me incriminated,” about the video

of his feet on the Senator’s table.   According to the article, “Fellows said he watched a fellow

Trump supporter bashing in a door at the Capitol with a cane and eventually break through the

door. A crowd of rioters pushed through only to be pushed back outside by police officers. Once

the building was overrun, he said he initially hesitated before going in but did so after hearing

that people inside weren’t being arrested. He got in through a broken window.” According to the
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article, “Fellows’s interactions with police officers inside the Capitol led him to believe there

wouldn’t be consequences for going inside. ‘Did I think I was going to get in trouble?’ Fellows

said. ‘Uh, no.’” The article further described FELLOWS as claiming he was planning to return

to Washington for more protests surrounding President-Elect Joe Biden’s inauguration on Jan.

20, and he predicted there would be more violence.

       20.     On or about January 12, 2021, TikTok account @brandonfellows3, believed to be

used by FELLOWS, posted a video of FELLOWS saying, in part, “I’m not a terrorist, but I will

be posting more photos so long as the FBI doesn’t come get me for walking in and taking photos

and saying have a nice night to the police.”

       21.     On January 6. 2021, a YouTube Account Holder

(https://www.youtube.com/watch?v=gGLLJ-WssSY) live streamed a video where an unknown

male (“UM1”) walked down the street and talked into the camera about the breach of the

Capitol. During the video, UM1 began talking to unknown male (“UM2”) on the street. UM1

asked UM2, “were you guys in there?” to which UM2 responded “Oh dude I was right…I got

video of the break in. I was right there, right next to it.” After a brief conversation, UM1 asked if

he could put UM2 on camera and UM2 consented. UM2 appeared to be FELLOWS and he wore

the same clothing as when he was seen in the Capitol. Once FELLOWS appeared on camera, he

stated “Hey there. My name is Brandon Fellows from Albany, New York, well [unintelligible].”

(In context, FELLOWS appears to be referring to a town or location near Albany.)

                                          CONCLUSION

       For the reasons set forth above, I submit there is probable cause to believe that

FELLOWS, violated:
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1. 18 U.S.C. § l752(a), which makes it a crime to (1) knowingly enter or remain in any

   restricted building or grounds without lawful authority to do; (2) knowingly, and with

   intent to impede or disrupt the orderly conduct of Government business or official

   functions, engage in disorderly or disruptive conduct in, or within such proximity to, any

   restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts

   the orderly conduct of Government business or official functions; or (3) knowingly, and

   with the intent to impede or disrupt the orderly conduct of Government business or

   official functions, obstruct or impede ingress or egress to or from any restricted building

   or grounds. For purposes of Section 1752 of Title 18, a restricted building includes a

   posted, cordoned off, or otherwise restricted area of a building or grounds where the

   President or other person protected by the Secret Service is or will be temporarily

   visiting; or any building or grounds so restricted in conjunction with an event designated

   as a special event of national significance; and

2. 40 U.S.C. § 5l04(e)(2), which makes it a crime for an individual or group of individuals

   to willfully and knowingly (C) with the intent to disrupt the orderly conduct of official

   business, enter or remain in a room in any of the Capitol Buildings set aside or designated

   for the use of- (i) either House of Congress or a Member, committee, officer, or employee

   of Congress, or either House of Congress; or (ii) the Library of Congress; (D) utter loud,

   threatening, or abusive language, or engage in disorderly or disruptive conduct, at any

   place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt,

   or disturb the orderly conduct of a session of Congress or either House of Congress, or

   the orderly conduct in that building of a hearing before, or any deliberations of, a
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       committee of Congress or either House of Congress; or (G) parade, demonstrate, or

       picket in any of the Capitol Buildings.




As such, I respectfully request that the court issue an arrest warrant for FELLOWS. The statements

above are true and accurate to the best of my knowledge and belief.

                                                            Respectfully Submitted,




                                                            LaNard Taylor
                                                            Special Agent
                                                            Federal Bureau of Investigation




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone, this 15th day of January 2021.




                                                    ___________________________________


                                                    U.S. MAGISTRATE JUDGE
